Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,
Plaintiffs,
Case No. 14-CV-2159-KHV-JPO

Vv.

BF LABS INC.,

Nee Nee” Nome” Nee’ Nee Nee” Ne” Nee” Wee”

Defendant.

DECLARATION OF DAVID MCCLAIN

I, David McClain, hereby declare and state as follows:

1. I am the Large Accounts Manager at BF Labs Inc. (“BF Labs”), and have worked
in that capacity since October 2012.

2. Bitcoin came into existence in about 2009.

3. Bitcoin was initially mined with the central processing unit (CPU) in laptop or
desktop computers, and subsequently with the more powerful graphics cards (GPU) in these
types of computers.

4, In 2011, BF Labs was incorporated to manufacture a line of high speed encryption
processors for use in Bitcoin mining, research, telecommunication, and security applications.

5. In 2012, BF Labs introduced FPGA technology that was approximately two times
faster than graphics cards, which were in turn hundreds of times faster than the original CPUs.

6. In 2013, BF Labs introduced ASIC 65nm technology that was approximately 80
times faster than its FPGA technology.

7. The ASIC 28nm technology (the “Monarch”) that BF Labs began shipping in

August 2014 is approximately 10 times faster than the ASIC 65nm technology. At this point,
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 2 of 8

speeds are 1600 times faster than the GPUs and many thousands of times faster than the original
CPUs.

8. While the majority of bitcoin miners accepted the development of new
technology, they had to be willing to invest money in specialized equipment in order to compete
with thousands of new entrants into “their” industry, or they risked not being able to keep pace.

a Bitcoin miners desired faster, more powerful, more energy efficient devices as
soon as they could get them in order to get a perceived “jump on the other guy.” As soon as a
new product is announced, some miners insisted on queuing up to be as near the front of the line
as possible, and these miners were and are willing to place deposits of up to 100% to secure a
delivery slot.

10. _ A fully pre-paid pre-order process has been standard industry practice as the
market price of bitcoin fluctuates up and down, causing miners to want either to join the race or
drop out of it. Some miners try to arbitrage the market fluctuation by placing, canceling, and
reinstating orders as the price of bitcoin rises, falls, and rises again. This practice creates havoc
for the manufacturer, who is trying to forecast product demand, buy parts with long lead times in
order to meet the demand, and hire staff to assemble the orders. The financial risk thus shifts to
the manufacturer, who runs the risk of getting stuck with obsolete inventory if a competitor
announces a product seemingly more attractive that is promised for future delivery, and
customers in the queue shift their orders to the competitor.

11. The above factors, which reflect industry standard practices and are consistent
with significant competing manufacturers of similar equipment, led BF Labs to initially use a

fully prepaid pre-order process whereby the funds paid by a customer are applied to pay for the
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 3 of 8

purchase of parts and labor used in the manufacturing process, making it impractical to reverse
an order.

12. BF Labs’ pre-order sales model, including the fact that pre-order funds may be
used to complete the development, and manufacture of the products, was fully disclosed to its
customers.

13. | Whenconsumers placed pre-orders for products other than the FPGA generation
with BF Labs, consumers accepted terms of purchase including that the shipping range for the
ordered product was “two months or longer.”

14. At times, BF Labs’ website instructed customers who could not tolerate a two-
month or longer waiting period for the ordered product that they should “NOT preorder this
product.”

15. | BF Labs updated its shipping projections, provided detailed production updates,
and gave day-by-day shipping updates. BF Labs never promised specific shipping dates for its
products, but rather estimated and projected shipping dates determined in good faith.

16. Despite clear and unequivocal warnings that consumers were entering into a pre-
order arrangement for undeveloped products and that a delivery timeframe could not be assured,
consumers voluntarily chose to complete their orders.

17. Like other bitcoin mining manufacturers, BF Labs experienced growing pains —
particularly speed-to-market issues — in this developing market.

18. On the day this lawsuit was filed, the price of one bitcoin was $448.88.

19. On June 25, 2014, the day of the scheduling conference, the price of bitcoin was

$562.13. Most of the assets held by BF Labs on that day were in bitcoin.
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 4 of 8

20. On July 17, 2014, BF Labs voluntarily ended its preorder sales model for bitcoin
mining equipment.

21. BF Labs does not employ in-house counsel.

22. BF Labs’ Monarch line began to ship on August 20, 2014.

23. On September 8, 2014, based on and following numerous discussions concerning
BF Labs, documents, systems, policies, procedures, etc., Polsinelli sent an attorney-client
privileged communication concerning discovery responses to Plaintiffs’ requests to me, as I was
appointed as point person for responding to Plaintiffs’ discovery requests.

24. From September 9th to the 20th, 2014, I traveled to Slovenia and London for
work. I discussed with counsel meeting in person to go over the discovery responses when I
returned from the business trip.

25, On September 12, 2014, I sent an attorney-client privileged email to counsel
regarding the discovery responses and noting the difficulty of responding to all of Plaintiffs’
requests. That same day, I sent another attorney-client privileged email to counsel indicating that
BF Labs will likely need an extension due to the breadth and scope of discovery, and that I
would get back fromm a European business trip on September 22, 2014, and that we should meet
then to discuss these questions with counsel in person to go over the discovery responses and
finalize.

26. On September 12, 2014, multiple attorney-client privileged emails between BF
Labs and our counsel were sent that discussed the burden and scope of these interrogatories and
what we were required to do. Bruce Bourne assigned additional people to work on each

discovery request.
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 5of 8

27. On September 18, 2014, I know that other BF Labs’ employees sent counsel
multiple attorney-client privileged emails regarding the discovery requests.

28. Tomy knowledge, no one at BF Labs had knowledge of the FTC investigation.

29. On the date of the ex parte order, the price of one bitcoin was $421.46.

30. On September 19, 2014, the FTC, along with its investigator, attorneys, federal
Marshalls, and the court-appointed Temporary Receiver and his counsel raided BF Labs’
building and the employees were forced to leave. Completed Monarch devices were on loading
docks ready to be shipped (as they had been during the previous month).

31. At the time the FTC, without notice, raided BF Labs’ headquarters, BF Labs was
in process of refunding customers who wanted a refund rather than delivering a product. That is,
when a Monarch unit passed quality-control tests and became ready for shipment, the next
customer in the pre-order queue was sent an email that offered the customer the choice of either
a refund or product delivery. Whichever selection the customer made, BF Labs timely fulfilled it.

32. On October 21, 2014, BF Labs received a bill from Modus for its data collection
efforts in September 2014 for $80,256.29. The Temporary Receiver never paid this bill.

33. | On December 23, 2014, the price of one bitcoin has dropped further to $334.05.

34. | No BF Labs’ products were shipped to consumers and no refunds were made to
consumers during the interim period (September 19, 2014 through December 23, 2014). By
halting BF Labs’ operations for more than three months, the FTC caused BF Labs’ refund
liability to its customers to increase significantly. As a result of the injunctive measures entered,
BF Labs suffered losses of key employees, losses of vendors due to perceived stigma of working

with a company being shut down by a governmental agency’s action, and the economic waste of
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 6 of 8

unique technology sitting idle while competitive windows narrow. When the company was
returned, BF Labs immediately began trying to remedy some of the harm caused.

35. | BF Labs incurred literally millions dollars in additional costs to pay for attorneys
to defend itself, accountants to examine it, and a Temporary Receiver and his legal team to
oversee it.

36. In terms of product value, with the passage of time from the delay, competitors
were able to take pre-orders for newer products. BF Labs was prevented from competing to be
the first to develop and release new mining equipment. BF Labs was left with the reality that
once a competitors’ new product is out, customers want refunds instead of the “older” BF Labs’
products. Other competitors dramatically lowered their prices during the three month delay,
resulting in customers electing refunds instead of taking delivery of the equipment.

37. With respect to vendor relations, BF Labs’ payment accounts were frozen and the
temporary receiver made disbursements as and when he deemed it appropriate. Vendors went
weeks without any payments or communication. Many issued late notices, and some even issued
disconnect notices. More than one supplier refused to do business with BF Labs until all past
due invoices were paid and future goods or services were paid in advance. One contract
software engineer refused any further work with the company due to the perceived stigma of
working with a company being sued for fraud by the government.

38. On December 30, 2014, pursuant to the Western District of Missouri’s Order, BF
Labs began making refunds to customers in the refund queue.

39. On January 12; 2015, the price of bitcoin dropped to $267.09.

40. Following over four months of disruption, BF Labs began to work again on

responses to Plaintiffs’ discovery requests in January 2015.
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 7 of 8

41. On February 6, 2015, I sent Polsinelli attorney-client privileged communications
concerning answers to Plaintiffs’ interrogatories.

42. On February 9, 2015, I sent attorney-client privileged spreadsheets and documents
relevant to Plaintiffs’ interrogatories to Polsinelli.

43. On February 12, 2015, additional multiple attorney-client privileged emails were
exchanged between Polsinelli and BF Labs regarding finalizing Plaintiffs’ discovery requests.

44. On February 17, 2015, multiple attorney-client privileged emails were exchanged
between Polsinelli and BF Labs regarding finalizing Plaintiffs’ discovery requests.

45. On February 19, 2015, multiple attorney-client privileged emails were sent
between Polsinelli and BF Labs regarding finalizing Plaintiffs’ discovery requests.

46. On March 6, 2015, BF Labs paid Modus $78,264.45 after multiple attorney-client
privileged negotiations to lower the amount of the September bill and Modus continued to work
on processing data.

47. On March 12, 2015, Modus sent its February 2015 invoice for $9,389.36 to BF
Labs.

48. On March 18, 2015, based on negotiated fee reductions, Modus revised its
February invoice to $7,606.18.

49. On March 27, 2015, BF Labs paid Modus an additional $7,606.18 for its
electronic discovery efforts.

50. I have worked on the interrogatory responses at least 50% of the time for 22 days
(and on some days 100% of the time) from January to April 1, 2015. Other BF Labs’ employees

and consultants spent significant time (including entire days) on discovery responses as well.
Case 2:14-cv-02159-KHV Document 83-5 Filed 04/17/15 Page 8 of 8

51. I estimate that I have spent approximately 140 hours working on the discovery
responses al issue. Five other BF Labs’ employees or consultants estimated that they spent
anywhere from three to 15 hours working on discovery responses to Plaintiffs’ requests.

52. On April 17, 2015, the price of one bitcoin was $222.99.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 17" day of April, 2015.

iy q Wf

David McClain
